Case 2:21-cv-00411-JRG Document 22-28 Filed 01/31/22 Page 1 of 1 PageID #: 1125




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION



   FARMOBILE LLC,


          Plaintiff,

          v.                                       Civil Action No. 2:21-cv-00411-JRG

   FARMERS EDGE INC. AND FARMERS
                                                   JURY TRIAL REQUESTED
   EDGE (US) INC.

          Defendants.



  ORDER GRANTING DEFENDANTS FARMERS EDGE INC. AND FARMERS EDGE
     (US) INC.’S MOTION TO TRANSFER TO THE DISTRICT OF NEBRASKA

        Pending before the Court is Defendants Farmers Edge Inc. and Farmers Edge (US) Inc.’s

 Motion to Transfer Pursuant to 28 U.S.C. § 1404(a). This Court having considered Defendants’

 Motion, any opposition filed by Plaintiff Farmobile Inc., all other briefing, and arguments of

 counsel, IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Judgment is

 HEREBY ENTERED that Farmobile’s causes of actions against Defendants Farmers Edge (US)

 Inc. and Farmers Edge, Inc. are TRANSFERRED to the District of Nebraska.
